                            Case 2:14-cr-00409-HB Document 254 Filed 02/02/16 Page 1 of 7
    AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                           Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                             Eastern District of Pennsylvania
                                                                                )
                  UNITED STATES OF AMERICA                                      )      JUDGMENT IN A CRIMINAL CASE
                                      v.                                        )
                         CHAKA FATTAH, JR.                                      )
                                                                                       Case Number:            DPAE2:14CR409-01
                                                                                )
                                                                                )      USM Number:             71538-066
                                                                                )
                                                                                )      Pro Se
                                                                                )      Defendant's Attorney
    THE DEFENDANT:
    D pleaded guilty to count(s)
    D pleaded nolo contendere to count(s)
      which was accepted by the court.
   X was found guilty on count(s)           1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 18, 19, 20, 21, 22, and 23
       after a plea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section               Nature of Offense                                                               Offense Ended            Count
   18:1014                       False statements to obtain a bank loan                                          6/22/2005                  1
   18:1014                       False statements to obtain a bank loan                                          7/1/2005                   2
   18:1014                       False statements to obtain a bank loan                                          11/1/2005                  3
   18:1014                       False statements to obtain a bank loan                                          11/16/2005                 4
   18:1014 and 2                 False statements to obtain a bank loan and aiding and abetting                  7/12/2005                  5
   18:1014 and 2                 False statements to obtain a bank loan and aiding and abetting                  7/26/2005                  6
          The defendant is sentenced as provided in pages 2 through           7       of this judgment.          The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.
   X The defendant has been found not guilty on count(s)               17
                                                                     ~~~~~~~~~~~~~~~~~~~~~~~~~~~




    D Count(s)                                               Dis        D are dismissed on the motion of the United States.
            It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
   or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
   the defeni:lant must notify the court and United States attorney of material changes in econoffilc circumstances.


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                    /
                             P. o . L '2 )
                                                                              Harvey Bartle ill, USDJ
   7,5                                                                        Name and Title of Judge
     +::" ,-~ c "-- \
     FL\...l_                                                                 Date
     \_A_ 'S V\J\.0-- ( "5.ko_\        c1-- )
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                      Sheet lA
                                                                                       Judgment-Page   2     of    7
DEFENDANT:                  CHAKA FATTAH, JR.
CASE NUMBER:                DPAE2:14CR409-l

                                          ADDITIONAL COUNTS OF CONVICTION

Title & Section                 Nature of Offense                                  Offense Ended           Count
18:1014 and 2                   False statements to obtain loans and aiding and
                                abetting                                           8/8/2005                 7
18: 1001(a)(3)                  False statements concerning loans insured by the
                                Small Business Administration                      3/5/2010                 8
18:1001(a)(3)                   False statements concerning loans insured by the
                                Small Business Administration                      10/11/2010               9
18:1001(a)(2)                   False statements concerning loans insured by the
                                Small Business Administration                      6/13/2011                10
18:1014                         False statements to obtain loans                   11/8/2005                11
18:1344                         Bank fraud                                         3/11/2011                12
18:1014                         False statements to obtain loans                   1/20/2012                13
26:7206(1)                      Filing false income tax returns                    12/13/2010               14
26:7206(1)                      Filing false income tax returns                    12/15/2010               15
26:7206(1)                      Filing false income tax returns                    12/15/2010               16
26:7203                         Failing to pay federal income tax                  9/27/2011                18
18:666(a)(l)(A)                 Theft from a program receiving federal funds and
                                aiding and abetting                                6/30/2012                19
18:1343                         Wire fraud                                         9/27/2010                20
18:1343                         Wire fraud                                         7/13/2011                21
18:1343                         Wire fraud                                         5/26/2011                22
18:1343                         Wire fraud                                         5/27/2011                23
                        Case 2:14-cr-00409-HB Document 254 Filed 02/02/16 Page 3 of 7
AO 245B (Rev. 10/15) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                  Judgment - Page     3   of    7
DEFENDANT:                     CHAKA FATTAH, JR.
CASE NUMBER:                   DPAE2: 14CR409-1

                                                         IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 60 months on each of counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13. 19, 20, 21, 22,. and 23. 36 months on each of counts   14,
 15, and 16. 12 months on count 18. All sentences shall run concurrently.


    D The court makes the following recommendations to the Bureau of Prisons:




    X    The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
         D    at                                            D p.m.      on
         D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D before 2 p.m. on
         D as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                       to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                       By   -------===-:=-:-,---------------
                                                                                    DEPUTY UNITED STATES MARSHAL
                         Case 2:14-cr-00409-HB Document 254 Filed 02/02/16 Page 4 of 7
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                           Judgment-Page        4    of        7
 DEFENDANT:                   CHAKA PATTAH, JR.
 CASE NUMBER:                 DPAE2:14CR409-1
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
5 years on each of counts 1, 2, 3, 4, 5, 6, 7, 11, 12, 13, 20, 21, 22, and 23. 3 years on each of counts 8, 9, 10, and 19. 1 year on each of
counts 14, 15, 16, and 18. All terms of supervised release shall run concurrently.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act ( 42 U.S.C. § 16901, et seq.)
 D       as directed by the probation officer, the l3ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled suostances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          penmss10n of the court; and
 13)      as directed by the pro~ation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendants compliance with such notification requirement.
                        Case
AO 245B (Rev. 10/15) Judgment in a2:14-cr-00409-HB
                                   Criminal Case            Document 254 Filed 02/02/16 Page 5 of 7
         Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment -   Page     5      of       7
DEFENDANT:                       CHAKA FATTAH, JR.
CASE NUMBER:                     DPAE2:14CR409-1
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                              Restitution
TOTALS            $ 2,125.00                                        $                                    $ 1,172,157.00


D The determination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned Rayment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                       Priority or Percentage
IRS-RACS                                              $41,400                                 $41,400

Citizens Bank                                              $7,667                              $7,667

PNC Bank                                               $22,574                                $22,574

Sun National Bank                                      $35,000                                $35,000

Wells Fargo Bank                                       $25,000                                $25,000
(Formerly Wachovia Bank)

Bank of America                                        $10,000                               $10,000

United Bank                                            $50,000                               $50,000

Philadelphia Federal Credit                            $15,000                               $15,000
Union

                                     Additional Payees - Page 6

TOTALS                           $                 1,1722157.00            $             1,172,157.00


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X    the interest requirement is waived for the       D fine       X restitution.
     D the interest requirement for the        D    fine     D restitution is modified as follows:

*Findings for the total amount oflosses are reguired under Chapters 109A, 110, 110A, and 113A of Title 18 foroffenses committed on or after
Septeml:ier 13, 1994, but before April 23, 1996.
                       Casein2:14-cr-00409-HB
AO 245B (Rev. 10/15) Judgment a Criminal Case    Document 254 Filed 02/02/16 Page 6 of 7
        Sheet SA- Criminal Monetary Penalties
                                                                               Judgment-Page _ 6 _ of   7
DEFENDANT:            CHAKA FATTAH, JR.
CASE NUMBER:          DPAE2:14-409-1

                  ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

Small Business Administration                    $25,516.00           $25,516.00
Philadelphia School District                    $940,000.00          $940,000.00

See attachment for Payee addresses
                       Casein2:14-cr-00409-HB
AO 2458 (Rev. 10/15) Judgment a Criminal Case                 Document 254 Filed 02/02/16 Page 7 of 7
          Sheet 6 - Schedule of Payments

                                                                                                                Judgment -   Page     7      of          7
 DEFENDANT:                  CHAKA FATTAH, JR.
 CASE NUMBER:                DPAE2:14-409-1


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    X Lump sum payment of$               2,125.00             due immediately, balance due

            D     not later than                                     , or
            X     in accordance            D   C,   D    D,     D     E, or     X Fbelow; or
 B    D Payment to begin immediately (may be combined with                    oc,         D D, or       D F below); or
 C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay a minimum payment of $25.00 per quarter towards restitution while he is in custody. The defendant shall
           satisfy the remaining amount due in monthly installments of not less than $50.00, to commence 30 days after release from
           incarceration.




Unless the court has expressly ordered otherwise, if this jud~ent imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X    Joint and Several

     Defendant and ~o-Defend?nt Name~ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and correspondmg payee, if appropnate.
                 Matthew Amato, DPAE2:14CR423-1:
                 PNC Bank - Total Amount $22,574, Joint and Several Amount $14,500
                 Wells Fargo Bank - Total Amount $25,000, Joint and Several Amount $24,000
                 Sun National Bank - Total Amount $35,000, Joint and Several Amount $24,000
D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court c'osts.              '
